  AO 435              Case 22-33553 Document 856 Filed in TXSB on 09/24/24 Page 1 of 1
(Rev. 04/18)
                                                ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS                 FOR COURT USE ONLY

                                                                                                                  DUE DATE:
                                                             TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                          2. PHONE NUMBER                  3. DATE
Jennifer Hardy                                                                   (713) 510-1766                   9/24/2024
4. DELIVERY ADDRESS OR EMAIL                                                     5. CITY                          6. STATE         7. ZIP CODE
jhardy2@willkie.com                                                              Houston                          TX               77002
8. CASE NUMBER                               9. JUDGE                                               DATES OF PROCEEDINGS
. 22-33553                                   Christopher M. Lopez                10. FROM 9/24/2024            11. TO 9/24/2024
12. CASE NAME                                                                                     LOCATION OF PROCEEDINGS
Alexander E. Jones                                                               13. CITY Houston              14. STATE Texas
15. ORDER FOR
’ APPEAL                                     ’ CRIMINAL                          ’ CRIMINAL JUSTICE ACT               ’ BANKRUPTCY
’ NON-APPEAL                                 ’ CIVIL                             ’ IN FORMA PAUPERIS                  ’ OTHER (Specify)
16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                    DATE(S)                         PORTION(S)                         DATE(S)
’ VOIR DIRE                                                                      ’ TESTIMONY (Specify Witness)
’ OPENING STATEMENT (Plaintiff)
’ OPENING STATEMENT (Defendant)
’ CLOSING ARGUMENT (Plaintiff)                                                   ’ PRE-TRIAL PROCEEDING (Spcy)
’ CLOSING ARGUMENT (Defendant)
’ OPINION OF COURT
’ JURY INSTRUCTIONS                                                              ’ OTHER (Specify)                9/24/2024 Hearing
’ SENTENCING
’ BAIL HEARING
                                                                            17. ORDER
                            ORIGINAL                             ADDITIONAL
 CATEGORY           (Includes Certified Copy to     FIRST COPY                          NO. OF PAGES ESTIMATE                    COSTS
                  Clerk for Records of the Court)
                                                                   COPIES
                                                                 NO. OF COPIES
  ORDINARY                      ’                       ’
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    14-Day                      ’                       ’
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     3-Day                      ’                       ’
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    DAILY                       ’                       ’
                                                                 NO. OF COPIES
   HOURLY                       ’                       ’
  REALTIME                      ’                       ’
                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                         ESTIMATE TOTAL
                        (deposit plus additional).                                                                $              0.00 0.00
18. SIGNATURE                                                                    PROCESSED BY
/s/ Jennifer Hardy
19. DATE                                                                         PHONE NUMBER
9/24/2024
TRANSCRIPT TO BE PREPARED BY                                                     COURT ADDRESS




                                                      DATE             BY
ORDER RECEIVED

DEPOSIT PAID                                                                     DEPOSIT PAID

TRANSCRIPT ORDERED                                                               TOTAL CHARGES                    $              0.00 0.00

TRANSCRIPT RECEIVED                                                              LESS DEPOSIT                     $              0.00 0.00
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                            TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                        TOTAL DUE                        $              0.00 0.00
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